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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                              September 11, 2020
                        UNITED STATES DISTRICT COURT
                                                                               David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                   §
 Plaintiff                                  §
                                            §
       v.                                   §           CRIMINAL NO. 2:12-539
                                            §
STEVEN DEON WILLIAMS,                       §
 Defendant.                                 §

                       MEMORANDUM OPINION & ORDER

      Pending before the Court is Defendant Steven Deon Williams’ Motion for Order

Reducing [] Sentence 18 U.S.C. § 3582(c)(1)(A). D.E. 37. For the reasons stated herein,

his motion is DENIED.

I. BACKGROUND

      In 2013, Defendant was sentenced to 188 months’ imprisonment after pleading

guilty to possession with intent to distribute 136.3 kilograms of marijuana. He has served

roughly 99 months of his sentence (53%) and has a projected release date, after good time

credit, of October 27, 2025.

      In April 2020, Defendant filed a motion for release to home confinement under the

Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”), Pub. L. No. 116-

136, because he feared contracting COVID-19 in prison. The Court denied the motion,

explaining that, “While the CARES Act allows the BOP Director to lengthen the amount

of time a prisoner may be placed in home confinement, nothing in the Act grants

individual prisoners the right to serve the remainder of their sentence in home

confinement.” D.E. 36, p. 3. The Court instructed Defendant that if he wished to


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challenge the BOP’s administrative decision regarding home confinement, he should file

a petition pursuant to 28 U.S.C. § 2241 in the Northern District of Texas, after first

exhausting his administrative remedies. Id. The Court further instructed Defendant that if

he sought a sentence reduction, he should file a motion pursuant to 18 U.S.C. § 3582(c)

in this Court, also after first exhausting his administrative remedies. Id.

       In his current motion under 18 U.S.C. § 3582(c), Defendant moves the Court to

reduce his sentence to time served and/or convert the remainder of his sentence to home

confinement as a condition of supervised release because his underlying medical

conditions (type II diabetes with diabetic neuropathy, hypertension, and morbid obesity)

make him particularly vulnerable to severe illness or death should he contract COVID-19

while in prison.

II. LEGAL STANDARD

       The statute, 18 U.S.C. § 3582(c)(1)(A), authorizes a court to reduce a defendant’s

sentence under a limited number of circumstances:

              (c) Modification of an Imposed Term of Imprisonment.—
              The court may not modify a term of imprisonment once it has
              been imposed except that—
                  (1) in any case—
                      (A) the court, upon motion of the Director of the
                      Bureau of Prisons, or upon motion of the defendant
                      after the defendant has fully exhausted all
                      administrative rights to appeal a failure of the Bureau
                      of Prisons to bring a motion on the defendant’s behalf
                      or the lapse of 30 days from the receipt of such a
                      request by the warden of the defendant’s facility,
                      whichever is earlier, may reduce the term of
                      imprisonment (and may impose a term of probation or
                      supervised release with or without conditions that does
                      not exceed the unserved portion of the original term of


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                    imprisonment), after considering the factors set forth
                    in section 3553(a) to the extent that they are
                    applicable, if it finds that—
                       (i) extraordinary and compelling reasons warrant
                       such a reduction . . . and that such a reduction is
                       consistent with applicable policy statements issued
                       by the Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A)(i) (emphasis added).

      The applicable United States Sentencing Commission policy statement provides

that extraordinary and compelling reasons for early release exist where:

             (A) Medical Condition of the Defendant.—

                  (i) The defendant is suffering from a terminal illness (i.e.,
                  a serious and advanced illness with an end of life
                  trajectory). A specific prognosis of life expectancy (i.e., a
                  probability of death within a specific time period) is not
                  required. Examples include metastatic solid-tumor
                  cancer, amyotrophic lateral sclerosis (ALS), end-stage
                  organ disease, and advanced dementia.

                  (ii) The defendant is—
                  (I) suffering from a serious physical or medical condition,
                  (II) suffering from a serious functional or cognitive
                  impairment, or
                  (III) experiencing deteriorating physical or mental health
                  because of the aging process,

                  that substantially diminishes the ability of the defendant
                  to provide self-care within the environment of a
                  correctional facility and from which he or she is not
                  expected to recover.

             (B) Age of the Defendant. –

             The defendant is (i) at least 65 years old; (ii) is experiencing a
             serious deterioration in physical or mental health because of
             the aging process; and (iii) has served at least 10 years or 75
             percent of his or her term of imprisonment, whichever is less;



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              (C) Family Circumstances. –

                  (i) The death or incapacitation of the caregiver of the
                  defendant’s minor child or minor children.

                  (ii) The incapacitation of the defendant’s spouse or
                  registered partner when the defendant would be the only
                  available caregiver for the spouse or registered partner.

              (D) Other Reasons. –

              As determined by the Director of the Bureau of Prisons, there
              exists in the defendant’s case an extraordinary or compelling
              reason other than, or in combination with, the reasons
              described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13(1)(A), Application Note 1.

       Even if “extraordinary and compelling reasons” for early release exist, the

Guidelines’ policy statements provide for a reduction in sentence only if a defendant “is

not a danger to the safety of any other person or the community, as provided in 18 U.S.C.

§3142(g).” U.S.S.G. § 1B1.13(2). Factors relevant to this inquiry include: (1) the nature

and circumstances of the offenses of conviction, including whether the offense is a crime

of violence, or involves a minor victim, a controlled substance, or a firearm, explosive, or

destructive device; (2) the weight of the evidence; (3) the defendant’s history and

characteristics; and (4) the nature and seriousness of the danger to any person or the

community that would be posed by the defendant’s release. See 18 U.S.C. § 3142(g).

       Finally, the Court must consider whether a reduction is consistent with the

applicable section 3553(a) factors. See 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13.

The applicable statutory factors include, among others: the defendant’s history and

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characteristics; the nature and circumstances of the offense; the need for the sentence to

reflect the seriousness of the offense, promote respect for the law, and provide just

punishment for the offense; the need to deter criminal conduct and protect the public

from further crimes of the defendant; the need to provide the defendant with, among

other things, any needed medical treatment; and the various kinds of sentences available.

18 U.S.C. §§ 3553(a)(1)-(7).

      With respect to motions for compassionate release based on COVID-19:

             A review of a motion for release based on COVID-19 is
             highly fact-intensive and dependent on the specific conditions
             of confinement and medical circumstances faced by the
             defendant. Hence, a prisoner cannot satisfy his burden of
             proof by simply citing to nationwide COVID-19 statistics,
             asserting generalized statements on conditions of confinement
             within the BOP, or making sweeping allegations about a
             prison’s ability or lack thereof to contain an outbreak. . . .
             [T]he rampant spread of the coronavirus and the conditions of
             confinement in jail, alone, are not sufficient grounds to justify
             a finding of extraordinary and compelling circumstances.
             Rather, those circumstances are applicable to all inmates who
             are currently imprisoned and hence are not unique to any one
             person.

United States v. Koons, 2020 WL 1940570, at *4 & n.8 (W.D. La. Apr. 21, 2020) (citing

United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)).

      “In general, the defendant has the burden to show circumstances meeting the test

for compassionate release.” United States v. Stowe, 2019 WL 4673725, at *2 (S.D. Tex.

Sept. 25, 2019).




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III. ANALYSIS

      Defendant has offered evidence that he suffers from type II diabetes with diabetic

neuropathy, hypertension, and morbid obesity. According to the Centers for Disease

Control and Prevention, people of any age who are obese or suffer from type II diabetes

are at an increased risk of severe illness from COVID-19, and people with hypertension

might be at an increased risk. People with Certain Medical Conditions, CDC (July 17,

2020), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions.html.

      There is no question that Defendant is at an increased risk of severe illness should

he contract COVID-19 while incarcerated. However, he has offered no evidence in

support of his claim that he has a “clear disciplinary record” and is no longer a danger to

society. He has also offered no evidence that he attempted to exhaust his administrative

remedies within the BOP before filing the current motion. Instead, he claims that he

satisfied § 3582(c)’s exhaustion requirement by filing a petition for habeas corpus

pursuant to 28 U.S.C. § 2241 in the district where he is currently being housed. That

petition is still pending before the Northern District of Texas in Case No. 4:20-cv-433-Y.

      “Courts in the Southern District of Texas have ruled that defendants who move for

compassionate release still need to initially petition the BOP and, subsequently, fully

exhaust their administrative rights to appeal or wait for 30 days to lapse from such a

petition in order to bring a motion pursuant to 18 U.S.C. § 3582(c)(1)(A).” United States

v. Gomez, 2020 WL 2061537, at *1 (S.D. Tex. Apr. 29, 2020) (citing United States v.

Licciardello, 2020 WL 1942787 (S.D. Tex. Apr. 22, 2020); United States v. Orellana,


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2020 WL 1853797, at *1 (S.D. Tex. Apr. 10, 2020)); see also, e.g., United States v.

Reeves, 2020 WL 1816496, at *2 (W.D. La. Apr. 9, 2020) (“While the Court is well

aware of the effects the Covid-19 pandemic . . . , § 3582(c)(1)(A) does not provide this

Court with the equitable authority to excuse Reeves’ failure to exhaust his administrative

remedies or to waive the 30-day waiting period.”); United States v. Clark, 2020 WL

1557397, at *3 (M.D. La. Apr. 1, 2020) (denying motion for compassionate release based

on fears of contracting COVID-19 in prison where defendant conceded he had not

exhausted administrative remedies).

       Because Defendant has failed to demonstrate that he has complied with the

exhaustion requirements under § 3582, his motion is not ripe for review, and the Court is

without jurisdiction to grant it.

IV. CONCLUSION

       For the foregoing reasons, Defendant’s Motion for Order Reducing [] Sentence 18

U.S.C. § 3582(c)(1)(A) (D.E. 37) is DENIED.

       So ORDERED on September 11, 2020.



                                                  _______________________________
                                                   NELVA GONZALES RAMOS
                                                 UNITED STATES DISTRICT JUDGE




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